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      Diana L. Buongiorno, Esq.
      Chisea Shahinian & Giantomasi PC
      One Boland Drive
      West Orange, NJ 07052
      (973) 325-1500
      Attorneys for Palin Enterprises, LLC


                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

      OCCIDENTAL CHEMICAL
      CORPORATION,                                         Civil Action No. 18-cv-11273 (JLL)(JAD)

                                             Plaintiffs,                   Civil Action

              v.

      21st CENTURY FOX AMERICA, INC.,
      ET AL.                                                        DEFENDANT PALIN
                                                                   ENTERPRISES, LLC’S
                                          Defendants.            CORPORATE-DISCLOSURE
                                                                      STATEMENT


              Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel

      for defendant Palin Enterprises, LLC certifies that this party is a privately held limited liability

      company organized and existing under the laws of the State of New Jersey, it has no parent

      corporation, and no publicly held corporation owns 10% or more of its stock or ownership

      interest.

                                             Diana L. Buongiorno, Esq.
                                             Chiesa Shahinian & Giantomasi PC
                                             One Boland Drive
                                             West Orange, NJ 07052
                                             Tel: 973-530-2075
                                             Fax: 973-530-2275
                                             E-Mail: dbuongiorno@csglaw.com


      Dated: September 12, 2018              /s/ Diana L. Buongiorno
                                             Diana L. Buongiorno, Esq.
                                             CHIESA SHAHINIAN & GIANTOMASI PC




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